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 8                                 UNITED STATES DISTRICT COURT
 9                                EASTERN DISTRICT OF CALIFORNIA
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11   UNITED STATES OF AMERICA,                      Case No.: 1:03-cr-05111-AWI-3
12                   Plaintiff,                     ORDER RE REQUEST FOR COUNSEL
                                                    (Doc. 268)
13            v.

14   ANDRES RAMIREZ-NORIEGA,

15                   Defendant.

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              The Court is in receipt of Defendant’s pro se request for counsel to assist Defendant in the
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     filing of a motion to reduce sentence pursuant to Title 18, United States Code, Section 3582(c)(2)
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     (“Section 3582 Motion”). Pursuant to Eastern District of California General Order 546, the
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     Federal Defender’s Office (“FDO”) is hereby appointed to represent Defendant in this matter.
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     Should the FDO determine it is not appropriate for the FDO to file a Section 3582 Motion on
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     behalf of Defendant, Defendant is entitled to file such a motion pro se. The Court will not
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     construe Defendant’s request for counsel as a Section 3582 Motion.
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     IT IS SO ORDERED.
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     Dated:    January 12, 2016
26                                                SENIOR DISTRICT JUDGE
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